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                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEW JERSEY


  ELIZABETH KYLE-LABELL et al.,

                           Plaintiffs,
                                                            No. 2:15-cv-05193-ES-JAD
                      v.

                                                            CONSENT ORDER GRANTING
  SELECTIVE SERVICE SYSTEM et al.,                          SUBSTITUTION OF ATTORNEY


                           Defendants.



         Notice is hereby given that, subject to approval by the court, Plaintiff Elizabeth Kyle-

  Labell substitutes Gary R. Studen, State Bar No. 019012009, as counsel of record in place of

  Michael John Daher and Roy Den Hollander.


  Contact information for new counsel is as follows:


         Firm Name:        Boies Schiller Flexner LLP
         Address:          55 Hudson Yards, New York, NY 10001
         Telephone:        (212) 446-2300
         Facsimile:        (212) 446-2350
         E-Mail:           gstuden@bsfllp.com
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     I consent tll the above substitution.


                                                       fi¥t.J.~        .M -M11_
                                                              Elizabeth Kylc·Labcll


     I consent to being substituted.


     Date:    6fofo>tq

                                                       ~.~ria~  ifoy Den Hollander



     I consent to the above substitution.


     Date:   _G~/za_....__._il_._9-


     The substitution of attorney is hereby approved and so ORDERED.



     Date:-------
                                                             Honorable Joseph A. Dickson




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